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                                                                                       DISTRICT OF MARYLAND

                                                                                             10/9/2020
EBP: USAO2018R00843
                                                                                           CLERK’S OFFICE
                                                                                           AT GREENBELT
                           IN THE UNITED STATES DISTRICT COURT                       BY _______ , DEPUTY CLERK
                              FOR THE DISTRICT OF MARYLAND                                 jf

 UNITED STATES OF AMERICA                         *
                                                  *
          v.                                      * CRIMINAL NO. PWG20CR342
                                                  *
 HOWARD WARE                                      * (Wire Fraud, 18 U.S.C. § 1343;
                                                  * Forfeiture, 18 U.S.C. § 981(a)(1)(C),
                      Defendant                   * 21 U.S.C. § 853(p), 28 U.S.C. § 2461(c))
                                                  *
                                               *******
                                          INFORMATION

                                            COUNT ONE
                                            (Wire Fraud)

         The United States Attorney for the District of Maryland charges that:

         At all times relevant to this Information:

                                            Introduction

         1.       Defendant HOWARD WARE (“WARE”) was a resident of Maryland.

         2.       From approximately July 2016 until November 2018, WARE was employed by

Business 1, an environmental services company that provided remediation, disposal, recycling,

and beneficial reuse solutions for contaminated soil, dredged material, and hazardous and non-

hazardous waste. Business 1 operated two dozen facilities to treat contaminated material,

included Facility 1, located in Upper Marlboro, Maryland.

         3.       Business 2 was a trucking company based in Charlotte Hall, Maryland that

frequently provided hauling services to Business 1.

         4.       As part of WARE’s duties at Business 1, WARE coordinated the hauling of

materials to and from Facility 1 with various trucking companies, including Business 2.
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       5.       WARE had sole signatory authority for a SunTrust bank account ending in -9070

(the “WARE -9070 Account”).

                                     The Scheme to Defraud

       6.       From in or around March 2018 through in or around July 2018, in the District of

Maryland and elsewhere, WARE devised and intended to devise a scheme and artifice to

defraud Business 1 and Business 2, and to obtain money and property from Business 1 and

Business 2 by means of materially false and fraudulent pretenses, representations, and promises,

with the intent to defraud and with knowledge of the scheme’s fraudulent nature (“the scheme to

defraud”).

                         Manner and Means of the Scheme to Defraud

       It was part of the scheme to defraud that:

       7.       WARE told Business 2 that WARE could provide trucks to assist Business 2 and

work as subcontractors for Business 2 when WARE then and there well knew that WARE did

not have trucks to provide to Business 2.

       8.       Based on WARE’s representations, Business 2 hired WARE as a subcontractor

to help haul materials located at Business 1.

       9.       WARE never provided any trucks to Business 2.

       10.      WARE submitted false invoices to Business 2 for work that WARE never

performed.

       11.      Business 2, in turn, billed Business 1 for work that Business 2 performed along

with work that WARE claimed to have performed.

       12.      Business 1, through Business 2, paid WARE for work that WARE did not

perform.



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       13.    WARE used the fraudulently obtained funds to pay for his own personal

expenses.

                                         The Charge

       14.    On or about March 19, 2018, in the District of Maryland and elsewhere, the

defendant,

                                     HOWARD WARE,

for the purpose of executing and attempting to execute the scheme to defraud, did knowingly

transmit and cause to be transmitted by means of wire communication, in interstate and foreign

commerce, writings, signs, signals, pictures, and sounds, that is, WARE transmitted and caused

to be transmitted a wire communication from the WARE -9070 Account in Maryland to a server

located outside of Maryland, caused by the deposit of a $6,920 check from Business 2 into the

WARE -9070 Account.



18 U.S.C. § 1343




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                                 FORFEITURE ALLEGATION

       The United States Attorney for the District of Maryland further finds that:

       1.       Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the defendant that the

United States will seek forfeiture as part of any sentence in accordance with 18 U.S.C.

§ 981(a)(1)(C), 21 U.S.C. § 853(p), and 28 U.S.C. § 2461(c), in the event of the defendant’s

conviction under Count One of this Information.

       2.       Upon conviction of the offense set forth in Count One of this Information, the

defendant,

                                        HOWARD WARE,

shall forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c),

any property, real or personal, which constitutes or is derived from proceeds traceable to the

offense. The property to be forfeited includes, but is not limited to, a money judgment in the

amount of at least $233,040 in U.S. currency.

       3.       If, as a result of any act or omission of the defendant, any of the property

described above as being subject to forfeiture:

                a.     cannot be located upon the exercise of due diligence;

                b.     has been transferred or sold to, or deposited with, a third party;

                c.     has been placed beyond the jurisdiction of the court;

                d.     has been substantially diminished in value; or

                e.     has been commingled with other property which cannot be divided

                       without difficulty;




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the United States of America, pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C.

§ 2461(c), shall be entitled to seek forfeiture of substitute property up to the value of the

forfeitable property described above.



18 U.S.C. § 981(a)(1)(C)
21 U.S.C. § 853(p)
28 U.S.C. § 2461(c)




Date: October 9, 2020                          _________________________
                                               Robert K. Hur
                                               United States Attorney




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